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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            GREAT FALLS DIVISION



 VICTOR CHARLES FOURSTAR,                      Cause No. CV 20-81-GF-SPW
 JR.,

              Plaintiff,

        vs.                                                ORDER


 JEFF HARADA,et al..

              Defendants.



       On September 14, 2020, Plaintiff Fourstar moved to proceed in forma

pauperis with this action alleging violation of various rights by more than 35

defendants on various dates, in various locations, and in various ways, between

March 5, 2020, and September 10, 2020.

       On February 5, 2021, the Court severed some claims, retaining in this action

only Fourstar's claims dating from March 5 to July 9, 2020. The Court also denied

Fourstar's motion for leave to proceed in forma pauperis and ordered him to pay

the full filing fee of$400.00 by February 26, 2021. See Order(Doc. 7)at 3^,5

3-4.


       Fourstar did not respond to the Order. On May 5,2021, the case was

dismissed for failure to pay the filing fee. See Order(Doc. 9); Judgment(Doc. 10).
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